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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

ROBERT STEWART,                             §
                                            §
       Plaintiff,                           §
                                            §           Civil No. 3:17-CV-1261-K
v.                                          §
                                            §
PMG AUTO SALES d/b/a ATKINSON               §
TOYOTA SOUTH DALLAS,                        §
                                            §
       Defendant.                           §

                               SCHEDULING ORDER

        The Court, having considered the parties’ Joint Report filed August 11, 2017,
finds that the following order should be entered pursuant to Fed. R. Civ. P. 16(b), and
the local rules of this Court, to schedule this case for disposition and, if disposition by
trial is needed, to expedite the trial. Unless otherwise ordered or specified herein, all
limitations and requirements of the Federal Rules of Civil Procedure, as amended, must
be observed.

1.     Pursuant to Local Rule 16.3(a), the parties to this case shall enter into settlement
       negotiations as early as possible.

2.     The parties are ordered to complete mediation no later than December 6, 2017
       and file a Mediation Report describing the status of settlement negotiations no
       later than December 13, 2017. The parties’ obligation to file a Mediation
       Report is separate from any reporting requirements of the mediator.

       No later than 30 days from the date of this order, the parties shall submit a
       Joint Designation of Mediator in which the parties either name an agreed
       mediator or state that the parties cannot agree to a mediator.

       If plaintiff(s) and defendant(s) have not already filed a Certificate of Interested
       Persons with the Clerk of Court, they are directed to do so no later than 14 days
       from the date of this order so that the Court may ensure that recusal is not


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       necessary.

3.     This case is set for JURY trial on the Court’s three-week docket beginning
       November 5, 2018. Counsel and the parties shall be ready for trial on two (2)
       days notice at any time during this three-week period. Any potential conflicts
       must be called to the attention of the Court in writing within ten (10) days from
       the date of this order.

4.     All motions requesting leave to join parties or to amend pleadings shall be filed
       by December 1, 2017.

5.     All motions that would dispose of all or any part of this case (including all
       motions for summary judgment), shall be filed by June 29, 2018.

6.     Responses to motions must be filed within twenty-one (21) days of the motion.

7.     The deadlines in paragraphs 3 through 5 may be extended only by formal motion
       to the Court. Any extension requested shall not affect the trial or pretrial dates.

8.     Unless otherwise stipulated or directed by order, plaintiff and defendant shall file
       a written designation of the name and address of each expert witness who will
       testify at trial and shall otherwise comply with Fed. R. Civ. P. 26(a)(2) on or
       before January 12, 2018.

       All motions challenging or seeking to disqualify expert witnesses (e.g., Daubert
       motions) must be filed on or before April 30, 2018.

       If the evidence is intended solely to contradict or rebut evidence on the same
       subject matter identified by another party under Rule 26(a)(2)(B), the disclosure
       required under Rule 26(a)(2) shall be made within 45 days after the disclosure
       made by the other party.

9.     Unless otherwise directed by order, the parties must make the disclosure required
       by Fed. R. Civ. P. 26(a)(3)(A)-(B) by October 8, 2018. Within 14 days
       thereafter, a party must serve and file a list disclosing (i) any objections to the use
       under Rule 32(a) of a deposition designated by another party under rule
       26(a)(3)(A) -(ii) any objection, together with the grounds therefore, that may be
       made to the admissibility of materials identified under Rule 26(a)(3)(A)(iii), if
       any.

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10.     By May 31, 2018 all discovery, including discovery concerning expert witnesses,
        shall be completed. This discovery deadline may be extended only by formal
        motion to the Court. Any extensions requested shall not affect the trial date
        or any other pretrial deadline.

11.     By October 15, 2018 all pretrial material shall be filed with the Court. Mailing
        these materials on this date is insufficient. The pretrial materials must include
        the following:

        a.    A joint pretrial order shall be submitted by the plaintiff’s attorney which
              covers each of the matters listed in Local Rule 16.4 and which states the
              estimated length of trial and whether the case is a jury or non-jury trial.
              If an attorney for either party does not participate in the preparation of the
              joint pretrial order, the opposing attorney shall submit a separate pretrial
              order with an explanation of why a joint order was not submitted.
              However, failure to agree upon content or language is not an excuse for
              submitting separate pretrial orders because each party may submit its
              version of any disputed matter in the joint pretrial order. If the joint
              pretrial order is approved by the Court, it will control all subsequent
              proceedings in this case.

        b.    Each party shall provide a list of witnesses and provide (i) the name and
              address of each witness and (ii) a brief narrative of the testimony to be
              covered by each witness. The parties must also divide its list of witnesses
              into groups of “probable witnesses,” “possible witnesses,” “experts,” and
              “record custodians.”

              Pursuant to Fed. R. Civ. P. 16(c)(2)(O), and section VII of the United
              States District Court for the Northern District of Texas Civil Justice
              Expense and Delay Reduction Plan, the Court intends to impose a
              reasonable limit on the time allowed for presenting evidence in this case.
              Accordingly, the parties must also state the expected duration of direct and
              cross examination of each witness.

        c.    Each party shall file a list of exhibits and a designation of portions of
              depositions to be offered at trial. The list of exhibits shall describe the
              documents or things in numbered sequence. The documents or things to
              be offered as exhibits shall be numbered by attachment of labels to
              correspond with the sequence on the exhibit list. In addition, counsel for

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        each party intending to offer exhibits shall exchange a complete set of
        marked exhibits with opposing counsel; and shall deliver on the day the
        case is called for trial, a set of marked exhibits to the Court’s chambers
        (except for large or voluminous items that cannot be easily reproduced).
        All Exhibits must be provided to the Court and opposing counsel in
        PORTRAIT FORMAT not Landscape Format. Each exhibit list shall be
        accompanied by a written statement, signed by counsel for each party
        (except the party offering the exhibit) stating as to each exhibit either (i)
        the parties agree to its admissibility or (ii) the admissibility of the exhibit
        is objected to, identifying the nature and legal basis of the objection, and
        the names of the party or parties urging the objection. Counsel for the
        party proposing to offer the exhibit shall be responsible for coordinating
        activities related to preparation of such a statement. The Court may
        exclude any exhibit offered at trial unless such a statement has been filed
        in a timely manner.

  d.    Requested jury instructions shall be filed by each party. Each proposed
        instruction or conclusion of law shall be accompanied by citation to
        statutory or case authority and/or pattern instructions. The parties should,
        to the extent possible, rely on authority from the U.S. Supreme Court and
        Fifth Circuit. The parties shall submit a hard copy of the proposed
        instructions or conclusions and email a Word or Wordperfect version to
        Kinkeade_Orders@txnd.uscourts.gov.

  e.    In a non-jury case, each party having the burden of persuasion on an issue
        shall file proposed findings of fact and conclusions of law accompanied by
        citation to statutory or case authority. Within five (5) days thereafter, any
        opposing party shall serve proposed findings and conclusions with
        authority on that issue, numbered in paragraphs corresponding to those
        filed by the party with the burden of proof.

  f.    Motions in limine, if any, shall be filed by each party. Motions in limine
        must be limited to matters actually in dispute after conference with
        opposing counsel.

  g.    Each party shall file proposed voir dire questions, if any, it would like the
        Court to consider asking the jury panel.



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        h.     Trial briefs, if any, shall be filed by each party. In the absence of an order
               from the Court, trial briefs are not required, but are welcome.

12.     On the day the case is called for trial, additional copies of the list of witnesses and
        list of exhibits shall be delivered by each party to the court reporter.

13.     At least fourteen (14) days before the trial date, the parties and their respective
        lead counsel shall hold a face-to-face meeting to discuss settlement. Individual
        parties and their counsel shall participate in person, not by telephone or other
        remote means.        All other parties shall participate by representative or
        representatives, in addition to counsel, who shall have unlimited settlement
        authority and who shall participate in person, not by telephone or other remote
        means. If a party has liability insurance coverage as to any claim made against
        that party in this case, a representative of each insurance company providing such
        coverage, who shall have full authority to offer policy limits in settlement, shall
        be present at, and participate in, the meeting in person, not by telephone or other
        remote means. At this meeting, the parties shall comply with the requirements
        of Local Rule 16.3.

14.     Within seven (7) days after the settlement meeting, the parties shall jointly
        prepare and file a written report, which shall be signed by counsel for each party,
        detailing the date on which the meeting was held, the persons present (including
        the capacity of any representative), a statement regarding whether meaningful
        progress toward settlement was made, and a statement regarding the prospects of
        settlement.

15.     This order shall control the disposition of this case unless it is modified by the
        Court upon a showing of good cause. Any request that the trial date of this case
        be modified must be made (i) in writing to the Court and (ii) before the deadline
        for completing discovery. However, the Court will not grant motions to
        continue the trial setting absent extraordinary circumstances, even if the
        parties file an agreed motion.

16.     This Court informs parties not to include “private or sensitive information in any
        document filed with the Court unless [it] is necessary to the case.” This includes
        but is not limited to social security numbers, taxpayer identification numbers,
        financial account numbers, minors names, and dates of birth.




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17.     Judge's Courtesy Copy of Documents Filed by Electronic Means:
        In civil cases, Judge Kinkeade requires parties to provide copies of all dispositive
        motions, responses, replies and appendices thereto, and any filing totaling more
        than 25 pages in length. Copies must be printed on front side only, not
        front-back. These copies must be delivered to the Clerk’s office within three (3)
        business days of the filing date. Failure to comply with this requirement may result
        in the party’s document being unfiled by the Court. Furthermore, all hard copies
        must be properly bound either by sufficiently affixed staple, ACCO fastener, spiral
        binding, or, for a voluminous document, a 3-ring binder. Appendices and other
        documents fastened by paper clips, binder clips, rubber bands, or any other means
        are unacceptable. Exhibits must be tabbed, and the exhibits must be in
        PORTRAIT FORMAT not landscape format.

18.     Local Counsel must sign all documents filed in this case pursuant to Fed. R.
        Civ. P. 11, and also comply with Local Rule 83.10(b).

19.     Upon making an appearance in a case, Judge Kinkeade requires every
        attorney (not just lead attorneys) to provide their cell phone numbers where
        they can be reached at any time. This information is to be filed “Under
        Seal” entitled “Attorney Contact Information”. If not already filed with the
        Court, any attorneys shall file the required document within 14 days from
        the date of this order.

20.     Should any party or counsel fail to cooperate in accomplishing anything required
        by this order, such party or counsel or both may be subject to sanctions, including
        dismissal or entry of default without further notice.

        SO ORDERED.

        Signed August 25th, 2017.

                                                   _____________________________
                                                   ED KINKEADE
                                                   UNITED STATES DISTRICT JUDGE




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